
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date February 26, 1965.
We find that oral argument would serve no useful purpose and it is therefore dis*901pensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law. See Miami Beach First National Bank v. Dunn, 85 So.2d 556 (Fla.1956). The petition is therefore denied.
It is further ordered that the petitioner’s petition for allowance of attorneys’ fees be and the same is hereby denied.
THORN AL, C. J., and ROBERTS, O’CONNELL, CALDWELL and ERVIN, TT., concur.
